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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
In re Application of                                                   :
                                                                       :
THE REPUBLIC OF TÜRKIYE,                                               :
                                                                       :         25 Misc. 148 (JPC)
Applicant for an Order pursuant to                                     :
28 U.S.C. § 1782 to Conduct Discovery                                  :              ORDER
for use in Foreign Proceedings                                         :
                                                                       :
---------------------------------------------------------------------- X

JOHN P. CRONAN, United States District Judge:

        The Clerk of Court is respectfully directed to seal the materials at Docket Number 1-5

(Exhibit 5). This sealing is without prejudice to Applicant The Republic of Türkiye requesting to

unseal the materials following the resolution of Cevdet Turkyolu’s forthcoming motion in In Re:

Application of The Republic of Türkiye, 24 Misc. 557 (JPC) (S.D.N.Y. Dec. 3, 2024).

        SO ORDERED.

Dated: April 11, 2025                                           __________________________________
       New York, New York                                                JOHN P. CRONAN
                                                                      United States District Judge
